Case 2:17-cv-01298-JDC-KK Document 98 Filed 05/24/22 Page 1 of 1 PageID #: 638




                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION

NOE VEGA RAMOS; ANA KAREN                            §
VALENZUELA SOTO; JOSE ADRIAN                         §
LEYVA; and ANA KAREN QUIROZ,                         §
                                                     §
Individually and on Behalf of All Others             §
Similarly Situated                                   §
                                                     §
          Plaintiffs,                                §
                                                     §
v.                                                   §           Case No. 2:17-CV-01298-JDC-KK
                                                     §
BIG EASY FOODS OF LOUISIANA,                         §
L.L.C., and MELCHOR MAYA SOTO,                       §
                                                     §
          Defendants.                                §

                                                ORDER

          On this day, the Court considered Plaintiffs’ Unopposed Motion to Extend Deadline to file

Motion for Class Certification in the above-styled action (Doc. 97). After due consideration, the

Court GRANTS said motion.

          It is HEREBY ORDERED that for good and sufficient cause shown, the following

amendments are made to the Scheduling Order:

     i.   Plaintiffs’ deadline to file a motion for certification of a Rule 23 class is reset to June 17,

          2022.



          SIGNED on this the 24th day of May, 2022.


                                                         U.S. Magistrate Judge
